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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                               PLAINTIFF/GARNISHOR

v.                                    Case No. 2:21-mc-107 PKH

OSCAR AMOS STILLEY                                                                  DEFENDANT

v.

CORNERSTONE STRUCTURAL ENGINEERING, INC.                                             GARNISHEE


              DEFENDANT OSCAR STILLEY'S ENTRY OF APPEARANCE

       Comes now Defendant Oscar Stilley (Stilley) and enters his appearance in the captioned

case. Stilley’s full contact information is set forth below.


Respectfully submitted,


By: /s/ Oscar Stilley                         December 13, 2021
Oscar Stilley
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                                  CERTIFICATE OF SERVICE

Oscar Stilley hereby certifies that he caused this pleading to be filed via CM/ECF, and therefore
caused to be served all parties to this litigation, who have CM/ECF filing privileges. Stilley has
also served a copy of this pleading on Garnishee (with Garnishee’s permission) by email at
john@csengineeringinc.com.
